                05-44481-rdd       Doc 9692-2       Filed 09/28/07 Entered 09/28/07 16:40:29 Exhibit B-1
      In re Delphi Corporation, et al.                       Pg 1 of 1         Twentieth Omnibus Claims Objection
      Case No. 05-44481 (RDD)
         EXHIBIT B-1 - INSUFFICIENTLY DOCUMENTED CLAIMS
             CREDITOR'S NAME AND             CLAIM                   ASSERTED                     DATE              DOCKETED
                   ADDRESS                  NUMBER                 CLAIM AMOUNT                   FILED              DEBTOR


  INDUSTRIAL DISTRIBUTION                    1501               Secured:                         01/10/2006   DELPHI CORPORATION
  GROUP                                                          Priority:          $11,418.78                (05-44481)
  3100 FARMTRAIL RD                                        Administrative:
  YORK, PA 17402                                              Unsecured:
                                                                    Total:          $11,418.78


  OLDE TOWN EXPRESS C O MICKY                3703               Secured:                         05/01/2006   DELPHI CORPORATION
  ONKS                                                           Priority:                                    (05-44481)
  PO BOX 833                                               Administrative:
  JONESBOROUGH, TN 37659                                      Unsecured:             $1,026.75
                                                                    Total:           $1,026.75


  STAR SU STAR CUTTER COMPANY                 208               Secured:                         10/31/2005   DELPHI CORPORATION
  AKA STAR CUT SALES GOLD STAR                                   Priority:                                    (05-44481)
  COATING AND STAR SU LLC                                  Administrative:
  23461 INDUSTRIAL PARK DR                                    Unsecured:               $750.00
  FARMINGTON HILLS, MI 48335                                        Total:             $750.00


  STAR SU STAR CUTTER COMPANY                 214               Secured:                         10/31/2005   DELPHI CORPORATION
  AKA STAR CUT SALES GOLD STAR                                   Priority:                                    (05-44481)
  COATING AND STAR SU LLC                                  Administrative:
  23461 INDUSTRIAL PARK DR                                    Unsecured:             $2,780.65
  FARMINGTON HILLS, MI 48335                                        Total:           $2,780.65

                                   Total:       4                                   $15,976.18




*UNL stands for unliquidated
                                                                      Page 1 of 1
